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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JAVIER SEPULBEDA,             )
                              )
          Plaintiff,          )
                              )
      vs.                     )
                              )                               No. 15 CV 10820
CITY OF CHICAGO, CHICAGO      )
POLICE OFFICER ALEXIS COTTON )                       JURY TRIAL DEMANDED
and OTHER AS-YET UNIDENTIFIED )
CHICAGO POLICE OFFICERS,      )
                              )
          Defendants,         )

                           FIRST AMENDED COMPLAINT

       NOW COMES Plaintiff, JAVIER SEPULBEDA, by and through his attorneys,

ANGELINI & ORI, LLC, and for his First Amended Complaint against Defendants

CITY OF CHICAGO, CHICAGO POLICE OFFICER ALEXIS COTTON (Star Number

17625), and OTHER AS-YET UNIDENTIFIED CHICAGO POLICE OFFICERS, and

states as follows:

                                   INTRODUCTION

1.     Plaintiff Javier Sepulbeda was shot in the back multiple times by Defendant

       Officer Cotton without lawful justification. This action is brought pursuant to 42

       U.S.C. Section 1983 to redress the deprivation under color of law of Plaintiff's

       rights as secured by the United States Constitution.

                            JURISDICTION AND VENUE

2.     This Court has jurisdiction over Plaintiff's federal claims pursuant to 28 U.S.C. §

       1331 and over the state law claims pursuant to 28 U.S.C. § 1367. Venue is proper

       under U.S.C. §1391(b). On information and belief, all parties reside in this

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     judicial district and the events giving rise to the claims asserted herein all

     occurred within the district.

                                       PARTIES

3.   On December 6, 2014, and at all times relevant herein, Plaintiff, Javier Sepulbeda,

     was a twenty-two (22) year old resident of Chicago, Illinois.

4.   The Defendant, CITY OF CHICAGO, is a municipal corporation, duly

     incorporated under the laws of the State of Illinois, that operates the Chicago

     Police Department and, at all times relevant herein, was the employer and

     principal of the Defendant Police Officers. Defendant CITY OF CHICAGO is

     being sued pursuant to the doctrine of respondeat superior on the pendant State

     law claims.

5.   Defendant Officer ALEXIS COTTON was, at all times relevant to herein,

     employed by the CITY OF CHICAGO and duly appointed to act as a police

     officer of the Chicago Police Department. At all times relevant herein, Officer

     COTTON acted within the scope of his employment and under color of statues,

     ordinances, rules and regulations, customs and usage of the State of Illinois, the

     City of Chicago and the City of Chicago Police Department. Plaintiff sues

     Officer Cotton in both his official and his individual capacity.

6.   At all times relevant to herein, Defendants AS-YET UNIDENTIFIED CHICAGO

     POLICE DEPARTMENT OFFICERS were employed by the CITY OF

     CHICAGO and duly appointed to act as a police officers of the Chicago Police

     Department. At all times relevant herein, AS-YET UNIDENTIFIED CHICAGO

     POLICE DEPARTMENT OFFICERS acted within the scope of their employment



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      and under color of statues, ordinances, rules and regulations, customs and usage

      of the State of Illinois, the City of Chicago and the City of Chicago Police

      Department. Plaintiff sues AS-YET UNIDENTIFIED CHICAGO POLICE

      DEPARTMENT OFFICERS in both their official and their individual capacity.

                            FACTUAL ALLEGATIONS

7.    On December 6, 2014, at approximately 10:45 p.m., while on patrol Defendant

      Officer COTTON responded to a gang related disturbance call near 47th and Ada

      Streets in the Back of the Yards neighborhood.

8.    It is alleged that this disturbance call was in response to eight (8) Hispanic males

      hiding behind a vehicle and jumping out at passing vehicles flashing gang signs.

9.    When Defendant Officer COTTON arrived at the scene, Plaintiff SEPULBEDA

      ran away from the Officers. Defendant Officer COTTON gave chase on foot after

      Plaintiff SEPULBEDA.

10.   As Plaintiff SEPULBEDA was running down an alley, Defendant Officer

      COTTON opened fire discharging four (4) rounds, and striking Plaintiff

      SEPULBEDA three (3) times in the back. Plaintiff SEPULBEDA took a few

      more steps forward and fell to the ground. No shots were ever fired by Plaintiff

      SEPULBEDA.

11.   After hearing a call of shots fired, other Officers responded to the scene of the

      shooting and witnessed Defendant Officer COTTON handcuffing Plaintiff

      SEPULBEDA. Before the other Officers arrived on the scene, Defendant Officer

      COTTON placed his hands around the neck of Plaintiff SEPULBEDA in an




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      attempt suffocate him to death. As the other Officers arrive on the scene,

      Defendant Officer COTTON let go of his grip.

12.   Plaintiff SEPULBEDA suffered three (3) gunshot wounds into his back abdomen

      and pelvis and was taken by ambulance to Advocate Christ Medical Center.

13.   Upon arrival to Advocate Christ Medical Center, Plaintiff SEPULBEDA was

      immediately taken into surgery and endured multiple procedures, including but

      not limited to, Exploratory Laparotomy, Left Kidney Removal, Splenectomy,

      Primary Repair of Cecum, Primary Repair of Stomach, Diaphragm Repair,

      Debridement of Distal Pancreas and Exploration of Retro Peritoneum. Plaintiff

      SEPULBEDA suffered multiple injuries, including but not limited to, serious

      abdominal injuries, rib fractures and extensive right iliac and sacral fractures.

      Plaintiff SEPULBEDA remained admitted into the hospital for approximately ten

      (10) days until his release on December 17, 2014.

14.   Defendant Officer COTTON, as well as all other Officers who failed to intervene,

      were acting under color of law and within the scope of their employment at the

      time of the shooting.

                              Count I – 42 U.S.C. § 1983
                                  Excessive Force

15.   Each foregoing Paragraph in this Complaint is incorporated as if restated fully

      herein.

16.   As described in the preceding paragraphs, the conduct of Defendant Officer

      COTTON toward Plaintiff constituted excessive force in violation of the United

      States Constitution.




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17.   The misconduct described in this Count was objectively unreasonable and was

      undertaken intentionally with willful indifference to Plaintiff’s constitutional

      rights.

18.   The misconduct described in this Count was undertaken with malice, willfulness

      and reckless indifference to the Plaintiff’s rights.

19.   As a result of the above-described wrongful infringement of Plaintiff’s rights,

      Plaintiff has suffered monetary loss, pain and injury, as well as emotional distress.

                              Count II – 42 U.S.C. § 1983
                                 Failure to Intervene

20.   Each foregoing Paragraph of this Complaint is incorporated as if restated fully

      herein.

21.   Defendant Officers had a reasonable opportunity to prevent each other from using

      excessive force against Plaintiff had they been so inclined, but they failed to do

      so.

22.   As a result of the Defendant Officers’ failure to intervene, Plaintiff suffered

      monetary loss, pain and injury, as well as emotional distress.

23.   The misconduct described in this Count was objectively unreasonable and was

      undertaken intentionally with malice, willfulness and reckless indifference to the

      rights of others.

                             Count III – State Law Claim
                                Assault and Battery

24.   Each foregoing Paragraph of this Complaint is incorporated as if restated fully

      herein.




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25.   As described more fully in the preceding paragraphs, the actions of the Defendant

      Officers created a reasonable apprehension of imminent harm and constituted

      offensive physical contact with Plaintiff, Javier Sepulbeda.

26.   The misconduct described in this Count was objectively unreasonable and was

      undertaken intentionally with malice, willfulness and reckless indifference to the

      rights of others.

27.   As a result of the actions of the Defendant Officers, Plaintiff sustained physical

      and emotional injuries.

                             Count IV – State Law Claim
                                Respondeat Superior

28.   Each foregoing Paragraph of this Complaint is incorporated as if restated fully

      herein.

29.   In committing the acts alleged in the preceding paragraphs, the Defendant

      Officers were members and agents of the Chicago Police Department, acting at all

      relevant times within the scope of their employment.

30.   Defendant City of Chicago is liable as principal for all torts committed by its

      agent.

                             Count V – State Law Claim
                                 Indemnification

31.   Each foregoing Paragraph of this Complaint is incorporated as if restated fully

      herein.

32.   Illinois law provides that public entities are directed to pay any tort judgment for

      compensatory damages for which employees are liable within the scope of their

      employment activities.



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33.    The Defendant Officers are or were employees of the Chicago Police

       Department, for which Defendant City of Chicago is responsible, and acted within

       the scope of their employment in committing the misconduct described herein.


       WHEREFORE, Plaintiff, JAVIER SEPULBEDA, respectfully requests that this

Court enter judgment in his favor and against CITY OF CHICAGO, CHICATO POLICE

OFFICER COTTON, and AS-OF-YET UNIDENTIFIED CHICAGO POLICE

OFFICERS, awarding compensatory damages and attorneys’ fees, along with punitive

damages against the DEFENDANT OFFICER, as well as any other relief this Court

deems just and appropriate.

                                    JURY DEMAND

       Plaintiff, JAVIER SEPULBEDA, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.



February 1, 2017                              Respectfully Submitted,


                                              _/s/ Donald J. Angelini, Jr._______
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                                              Counsel for Plaintiff, Javier Sepulbeda.




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                            CERTIFICATE OF SERVICE

       I hereby certify that I have caused true and correct copies of Plaintiff’s First

Amended Complaint at Law to be served upon all parties of record via ECF, on this 1st

day of February 2017.

                                                     /s/ Donald J. Angelini, Jr.__
                                                     Attorney for Plaintiff Javier
                                                     Sepulbeda
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